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                    ARKANSAS COURT OF APPEALS
                                          DIVISION HI
                                          No CV‑17‑645

                                                    Opinion Deivered:Fcbruary 7,2018
WILLIAMヽ VHITFIELD HYMAN
                                  APPELLANT
                                                    APPEAL FROM THE SEBASTIAN
                                                    COUNTY CIRCUIT COURT,
V
                                                    FORT SMITH DISTRICT
BILL SADLER,IN HIS OFFICIAL                         [N066FCV‑17147]
CAPACITY AS PLIBLIC INFORMATION
OFFICER FOR THE ARICANSAS STATE                     HONORABLE STEPHEN TABOR,
POLICE
                        APPELLEE                    」UDGE

                                                    AFFIRNLED


                               RITA W. GRUBER, ChiefJudge

           william Hyman    appeals from the Sebastian   counry circuit court's order denying

    his request for information under the Arkansas Freedom of Information Act (FOIA)'1

    Although Mr. Hyman prevailed on 6ve counts ofhis six-count complaint, he contends that

    the circuit court clearly erred in denying his additional request for information by
                                                                                         applying


    the employee-evaluation/job-performance exemption. Ark. code Ann. $ 25-19-105(c)(1)

    (supp 2017)Hc alSO argucs that thc circuit court crrcd in failing to award him attomcy's

    fccs Wc attrln thc circuit court's ordCr

           On Fcbruary 10,2017,Mr Hyman,a lawγ cr rcprcscnting himsell llcd a pro sc

    complalnt with Six counts undcr FOIA to compcl appcllcc Bill Sadlcr,in his omcial capacity

    as Public informatlon o伍 ccr for thc Arkansas Statc Policc, to rcsPOnd to his rcqucst for




           1Ark. Code Ann. $$ 25-19-1'ol through -110 (RepI.2015)'
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records. Five counts-Counts       I, II, III, IV, and Vl-alleged violations of FOIA lor failure

to provide dash-cam-surveillance videos ofvarious clients. Count V was dillerent, however,

as   Mr. Hyman contended that he had requested documents regarding an investigation into

potential wrongdoing by Officer Ziegenhorn made        as   the result of a citizen's complaint by

his client, AndrewJames Tanner. Mr. Sadler denied the request Pursuant to the employee-

evaluarion/job-performance exemption set forth in Ark. code Ann. $ 25-19-105(c)(1). Mr.

Hyman initially requested any documents related to incidents regerding Mr. Tanner on dates

in November and December 2074 at a Walmart in Searcy. When Mr. Sadler reported that

there were no such documents,2 Mr. Hyman requested "results of complaints from Andrew


-fames   Tanner to the Arkansas State Police about a Trooper Kurt Ziegenhorn made on or

about November and December 2074." Because there was no decision to suspend or

terminate Of6cer Ziegenhorn following this investigation, Mr. Sadler denied Mr. Hyman's

request for the records.    Mr. Hyman's complaint    also requested that the circuit court 6nd


him to be the "substantially prevailing parry" pursuant to Ark. Code Ann' S 25-19-107,

which authorizes an award of attomey's Ges in certain instances to a "plaintiff who             has


substantially prevailed" in a FOIA action.

         At the hearing, Mr. Sadler testified regarding Count V that Mr. Tanner had 6led          a



"Police-Citizen Complaint Form," which was introduced           as   plaintiffs exhibit R, pursuant

to which Mr. Tanner alleged that Officer Ziegenhorn had, on two occasions, yelled and

cursed at     Mr. Tanner while pointing his finger in his face;   searched   Mr. Tanner without



         2was discovered that there were no reports because the incidents had occurred
             It
when the officer was offdutY.
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cause; placed him      in handcuffs without      cause; and confiscated his concealed-carry license


without   cause.    Mr. Tanner averred in the complaint that this reflected a poor quality and       a



low   standard on the Arkansas State Police.            Mr. Hyman requested the "results" of Mr'

Tanner's police-citizen complaint and all records pertaining thereto. Mr. Sadler testi6ed that

Oficer Ziegenhorn had been offdury at the time of his "by-chance" encounten with Mr.

Tanner at Walmart and had not arrested Mr. Tanner. He testified that any records pertaining

to this complaint were "part of the internal affairs investigation"              regarding officer

Ziegenhom and thus were job-performance records. He said that the records did not form

the basis for suspension or termination; therefore, they were not subject to release
                                                                                     under


FOIA.

        The circuit court entered an order granting Mr. Hyman's requests for the dash-cam

videos under counts I, II,     III, IV,   and   vI   and ordered Mr. Sadler to produce them or make

them available for inspection and copying. The court denied Mr. Hyman's request
                                                                                pursuant


to count V, fnding that these records were exempt under the employee-evaluation/job-

performance exemprion. The court also denied attomey's Ges, finding that although Mr'

Hyman was the prevailing party, Mr. Sadler was substantially justiEed in his position. Mr.

Hyman 6led this appeal from the court's order.

        In   a   FOIA case, rhe standard of review is whether the circuit court's findings were

clearly erroneous or clearly against the preponderance of the evidence. Pulaski Cty. u. Ark.

Democrat-cazeue, hnc.,377 Ark.21,7,264 S.W.3d 465 (2007). The issue of the applicabiliry

of FOIA is a question of statutory interpretarion, which we review de novo, because             it   is




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for this court ro determine the meaning oFa statute. Hyman u. Sadlet,2017 Ark. App. 292'

ar 5,527 S.W.3d 167, 170.

      For his 6rst point on appeal, Mr. Hyman contends that the circuit court erred in

applying   the   employee-evaluation/job-Performance exemPtion                    to his request for
information regarding Mr. Tanner's citizen complaint. He argues that this exception does

not apply when, as here, there has been no suspension or termination proceeding.

Moreover, he claims that even       if   there   wx    such a proceeding,   if   there are records of   a



narrative by an employee, they must be disclosed.

      The exemption at issue in this       case provides specifically as    follows:

               Norwithstanding subdivision (b)(12) of this section,3 all employee evaluation
       orjob performance records, including preliminary notes and other materials, shall be
       op.n ,o public inspectio n only upon fnal administntiue resolution of any suspension or
       termination proceeding at which the records form a bask for the decision to suspend or tefinindte
       the employee and if there is a compelling public interest in their disdosure '


Ark. code Ann. $ 25-19-105(c)(1)            (emphasis added). Although the general policy in

Arkansas is   for all public records to be "open to inspection" under FOIA unless they              are


speci6cally exempted, the legislature has determined that the public interest in maintaining

an effecdve public-employee-evaluation system and in the privacy interests ofits employees

requires that "employee evaluation or            job   performance records" be treated differently.

Thomas   v. Hall, 201,2 Ark. 66, at 6-7, 399 S.W.3d 387, 391 (citing Act of Feb. 16, 1987,

No. 49, 1987 Ark. Acts 113 andJohnJ. Watkins & Richard Peltz,                    The Atkansas Fteedom   of

Information Act 205 (Ark. Law Press, 5th ed. 2009)). These records are subject to disclosure


        sThis exempts personnel records to the extent that disclosure would constitute                  a
clearly unwarranted invasion of personal privacy.



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only in certain circumstances. Id. Those circumstances occur, according to the statute, when

there has been a final administrative resolution ofany suspension or termination proceeding;

a decision was made to suspend or terminate the employee; the records formed a basis for

the decision; and there is a compelling public interest in disclosure ofthe records in question.

Ark. Code Ann. $ 25-19-105(c)(1); see also Op. Ark. Att'y Gen. No. 147 (1'999)' Our

supreme court has approved of the following definition of employee-evaluation or job-

performance records: "any records that were created by or at the behest of the employer

and that detail the performance or lack of performance of the employee in question with

regard to a specific incident or incidents." Thomas, 2012 Ark. 66, at 8-9,399 S'W'3d at

392.

       Here, OIficer Ziegenhom was off duty when he encountered Mr. Tanner and did

not create   a   report of the encounten. Mr. Sadler testified that any documents pertaining to

these encounters were "part         of the intemal affain investigation"      regarding Ofiicer

Ziegenhom and that no suspension or termination resulted from the investigation. Thus,

any documents were created at the behest of the Arkansas State Police to determine Officer

Ziegenhorn's performance or lack thereof regarding these encounters with Mr. Tanner, and

no suspension or termination resulted therefrom. We hold that the circuit court's Gnding

that these documents were employee-evaluation or job-performance records was not clearly

erroneous. And because they did not result in a suspension or termination, they were not

subject to disclosure.

       Mr. Hyman        argues that the employee-evaluation/job-performance    exemption is not

applicable because there was no suspension or termination proceeding.         It is unclear from
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the testimony whether there was, in fact, a "proceeding," but Mr. Sadler testified that there

was an internal investigation regarding Officer Ziegenhorn. Once records are deemed

employee-evaluation orjob-performance records, the statute provides that they are required

to be disclosed "only upon 6nal administrative resolution of any suspension or termin.rtion

proceeding at which the records form a basis for the decision to suspend or terminate the

employee." Ark. Code Ann. $ 25-19-105(c)(1) (emphasis added)' Whether                          or not    a



proceeding was held, Mr. Sadler tesriied that no decision to suspend or terminate Officer

Ztegenhom was made following the investigation. Therefore, the records are simply not

subject   to   disclosure under this provision. Finally, although           Mr. Hyman      argues that   a


contemporaneous narrative by OfEcer Ziegenhom would not be exempt, there was no

testimony or other evidence presented that Officer Ziegenhorn prepared any such report.

There was testimony that Officer Ziegenhom was not on duty when the encounters with

Mr. Tanner occurTed and that he did not arrest Mr. Tanner in either encounter. On this

record, we cannot say that the circuit court clearly erred                 in finding that the records

pertaining to this internal investigation were exempt.

       For his second point on appeal, Mr. Hyman argues that the circuit court erred in

failing to award him attomey's fees. Arkansas Code Annotated section 25-19-1'07 (d)

provides that the court shall         assess   reasonable attomey's Ges against the defendant For        a



plaintift"who     has substantially   prevailed" unless the court 6nds that the defendant's position

"was substantially justi6ed." In this case, the court found that Mr. Hyman had substantially

prevailed, but   it determined that the defendant          was substantially justified in his position and

thus did not award fees. We affirm the circuit court's decision but not for the reasons set
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forth in its order. The statute does not allow the court to   assess   attorney's fees or litigation

expenses against the State.    In 2009, the legislature amended this statute so that only the

Arkansas State Claims Commission may assess fees against the State to a prevailing          plaintiff

under FOIA. Subsection (e) of the statute now provides:

         (1) Norwithstanding subsection (d)(1) of this section, the court shall not assess
       reasonable attomey's Ges or other litigation expenses reasonably incurred by a
       plaintiff against the State of Arkansas or a department, agency, or institution of the
       state-

         (2)(A) A plaintiffwho substantially prevailed in an action under this section against
       the State of Arkansas or a department, agency, or institution of the state may 6le a
       claim with the Arkansas State Claims Commission to recover reasonable attomey's
       Ges and other litigation expenses reasonably incuned'

Ark. Code Ann. $ 25-19-107(e)(1), (2). We will afErm a circuit court when it                reaches

the right result for the wrong rcason. Middleton v. Lockhart,355 Ark. 434, 139 S.W.3d 500

(2003);   see also   Bd. OJTr. u. Andrews,2018 Ark. 12,         S.W.3d           (recognizing suis
                                                          -                -
that subject the State to financial liabiliry are barred by sovereign immuniry).

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       HARRISON and GLOVER,JJ,agrcc.
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